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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


JANE DOE,

      Plaintiff,

v.
                                                  Case No: 6:23-cv-575-RBD-RMN
LONESTAR IT SOLUTIONS, LLC
and TRANSUNION RENTAL
SCREENING SOLUTIONS, INC.,

      Defendants.


                                       ORDER

      Before the Court is the parties’ Case Management Report (Doc. 36). The

report indicates that the parties have not yet agreed upon a mediator. Therefore,

the parties are directed to confer, and then advise the Court, on the selection of a

mediator no later than July 3, 2023.

      DONE AND ORDERED in Chambers in Orlando, Florida, on June 16, 2023.
